






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-380 CV


____________________



WRIGHT &amp; PITRE, HARRY P. WRIGHT AND MARCUS A. PITRE, Appellants



V.



MEHAFFY &amp; WEBER, A PROFESSIONAL CORPORATION, Appellee






On Appeal from the 172nd District Court


Jefferson County, Texas


Trial Cause No. D-163125-E






MEMORANDUM OPINION (1)


	Wright &amp; Pitre, Harry P. Wright and Marcus A. Pitre, appellants, filed a motion
to dismiss this appeal without prejudice.  The Court finds that this motion is voluntarily
made by the appellants prior to any decision of this Court and should be granted.  Tex. R.
App. P. 42.1(a)(1).  No other party filed a notice of appeal.


	It is, therefore, ORDERED that the motion to dismiss be granted and the appeal is
therefore DISMISSED.  Costs are assessed against the incurring party.

									PER CURIAM

Opinion Delivered January 22, 2004 

1. Tex. R. App. P. 47.4.

